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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:
  DOUG LONGHINI,

              Plaintiff,
  v.

  FLYING EAGLE, INC.,

         Defendant.

  ____________________________________/

                                              COMPLAINT

         Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues FLYING EAGLE, INC., (hereinafter

  “Defendant”), and as grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, with a

  residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.         At all times material, Defendant, FLYING EAGLE, INC., owned a place of public
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  accommodation with a commercial shopping plaza at 17350 S Dixie Hwy, Miami, Florida

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade County, Florida. Defendant, FLYING EAGLE,

  INC., holds itself out to the public as “Perrine Plaza.”

         6.      At all times material, Defendant, FLYING EAGLE, INC., was and is a Florida

  Profit Corporation, organized under the laws of the State of Florida, with its principal place of

  business in Miami, Florida.

         7.      Venue is properly located in the Southern District of Florida because Defendant’s

  Commercial Property is located in Miami-Dade County, Florida, Defendant regularly conducts

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                     FACTUAL ALLEGATIONS

         8.      Although over thirty (30) years have passed since the effective date of Title III of

  the ADA, Defendant has yet to make its facilities accessible to individuals with disabilities.

         9.      Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendant continues to discriminate against people

  who are disabled in ways that block them from access and use of Defendant’s business and

  property.

         10.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         11.     Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and




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  pursuant to the ADA. Plaintiff uses a wheelchair to ambulate. Plaintiff, DOUG LONGHINI, has

  very limited use of his hands and cannot operate any mechanisms which require tight grasping or

  twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating without

  the use of a wheelchair. He is limited in his major life activities by such, including but not limited

  to walking, standing, grabbing, grasping and/or pinching.

         12.     Defendant, FLYING EAGLE, INC., owns, operates and/or oversees the

  Commercial Property, its general parking lot/or and parking spots specific to the business therein,

  exterior and interior paths of travel and interior of the restaurant, to include the restrooms and the

  property and places of public accommodation is located in Miami, Florida.

         13.     Mr. Longhini is a staunch advocate of the ADA. Since becoming aware of his

  rights, and their repeated infringement, he has dedicated his life to this cause so that he, and others

  like him, may have full and equal enjoyment of public accommodations without the fear of

  discrimination and repeated exposure to architectural barriers in violation of the ADA.

         14.     He is often frustrated and disheartened by the repetitiveness of the complaints he is

  forced to make to employees and management at different places of public accommodation over

  thirty (30) years after the legislation of the ADA, to no avail. Mr. Longhini is accordingly of the

  belief that the only way to affect change is through the mechanisms provided under the ADA.

         15.     The subject Commercial Property is open to the public and is located in Miami-

  Dade County, Florida. The individual Plaintiff visits the Commercial Property, to include visits to

  the Commercial Property on or about March 15, 2023, and encountered multiple violations of the

  ADA that directly affected his ability to use and enjoy the Commercial Property. He often visits

  the Commercial Property in order to avail himself of the goods and services offered there because

  it is approximately fourteen (14) miles from his residence and is near other businesses and


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  restaurants he frequents as a patron. He plans to return to the Commercial Property within four (4)

  months of the filing of this Complaint in order to avail himself of the goods and services offered

  at the places of public accommodation and check if it has been remediated of the ADA violations

  he encountered.

         16.     The Plaintiff found the Commercial Property to be rife with ADA violations. The

  Plaintiff encountered architectural barriers at the Commercial Property and wishes to continue his

  patronage and use of each of the premises.

         17.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property have each denied or diminished Plaintiff’s ability to

  visit the Commercial Property and have endangered his safety in violation of the ADA. The

  barriers to access, which are set forth below, have likewise posed a risk of injury(ies),

  embarrassment, and discomfort to Plaintiff, DOUG LONGHINI, and others similarly situated.

         18.     Defendant, FLYING EAGLE, INC., owns and/or operates places of public

  accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

  36.201 (a) and 36.104. Defendant, FLYING EAGLE, INC. is responsible for complying with the

  obligations of the ADA. The places of public accommodation that Defendant, FLYING EAGLE,

  INC. owns and/or operates is the Commercial Property and Business located at 17350 S Dixie

  Hwy, Miami, Florida.

         19.     Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property, including but not necessarily limited to the allegations in this

  Complaint. Plaintiff has reasonable grounds to believe that he will continue to be subjected to


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  discrimination at the Commercial Property, in violation of the ADA. Plaintiff desires to visit the

  Commercial Property, not only to avail himself of the goods and services available at the

  Commercial Property, but to assure himself that the Commercial Property is in compliance with

  the ADA, so that he and others similarly situated will have full and equal enjoyment of the

  Commercial Property without fear of discrimination.

         20.     Defendant has discriminated against the individual Plaintiff by denying him access

  to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

  accommodations of the Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                               ADA VIOLATIONS

         21.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  20 above as though fully set forth herein.

         22.     Defendant, FLYING EAGLE, INC., has discriminated, and continues to

  discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

  facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

  gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

  visit to the Commercial Property, include but are not limited to, the following:

     A. Parking

            i.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking

                 spaces are located on an excessive slope. Violation: There are accessible parking

                 spaces located on an excessive slope violating Section 4.6.3 of the ADAAG and

                 Section 502.4 of the 2010 ADA Standards, whose resolution is readily achievable.

           ii.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking

                 space access aisles are located on an excessive slope. Violation: There are


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                accessible parking space access aisles located on an excessive slope violating

                Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA Standards, whose

                resolution is readily achievable.

         iii.   There are curb ramps that are obstructed by a parked vehicle. Violation: Accessible

                elements are not properly maintained or readily accessible and usable by persons

                with disabilities violating 28 CFR 36.211, whose resolution is readily achievable.

     B. Entrance Access and Path of Travel

           i.   Plaintiff had difficulty traversing the path of travel, as it was not continuous and

                accessible. Violation: There are inaccessible routes from the public sidewalk and

                transportation stop. These are violations of the requirements in. Sections 4.3.2(1),

                4.3.8, 4.5.1, and 4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303, and 402.2

                of the 2010 ADA Standards, whose resolution is readily achievable.

          ii.   The Plaintiff had difficulty traversing the path of travel due to abrupt changes in

                level. Violation: There are changes in levels of greater than ½ inch, violating

                Sections 4.3.8 and 4.5.2 of the ADAAG and Section 303 of the 2010 ADA

                Standards, whose resolution is readily achievable.

         iii.   The Plaintiff had difficulty entering tenant spaces without assistance, as the

                entrance thresholds are too high. Violation: There are threshold rises in excess of

                ½ inch at the tenant entrances, violating Section 4.13.8 of the ADAAG and Section

                404.2.5 of the 2010 ADA Standards, whose resolution is readily achievable.

         iv.    The Plaintiff had difficulty using some of the curb ramps, as the slopes are

                excessive. Violation: There are curb ramps at the facility that contain excessive

                slopes, violating Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the


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                  2010 ADA Standards, whose resolution is readily achievable.

                                  RELIEF SOUGHT AND THE BASIS

          23.     The discriminatory violations described in the Complaint are not an exclusive list

  of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

  public accommodation in order to photograph and measure all of the discriminatory acts violating

  the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

  requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

  presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

  enjoyment of the Commercial Business; Plaintiff requests to be physically present at such

  inspection in conjunction with Rule 34 and timely notice. Plaintiff requests the inspection in order

  to participate in crafting a remediation plan to address Plaintiff’s request for injunctive relief. The

  remediations for the ADA violations listed herein are readily achievable.

          24.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendant, Defendant’s building,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendant because of the Defendant’s ADA violations as set forth above. The individual Plaintiff,

  and all others similarly situated, will continue to suffer such discrimination, injury and damage

  without the immediate relief provided by the ADA as requested herein. In order to remedy this

  discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act. Plaintiff requests the inspection in order to participate in crafting a remediation

  plan to address Plaintiff’s request for injunctive relief.


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          25.     Defendant has discriminated against the individual Plaintiff by denying him access

  to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its places of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq.               Furthermore, Defendant continues to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated differently

  than other individuals because of the absence of auxiliary aids and services.

          26.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

          27.     Defendant is required to remove the existing architectural barriers to the physically

  disabled when such removal is readily achievable for their places of public accommodation, The

  Plaintiff and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s places of

  public accommodation in order to determine all of the areas of non-compliance with the Americans

  with Disabilities Act.

          28.     Notice to Defendant is not required as a result of the Defendant’s failure to cure the


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  violations by January 26, 1992 (or January 26, 1993, if any Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by Defendant.

         29.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendant operates its

  businesses, located at and/or within the commercial property located at 17350 S Dixie Hwy,

  Miami, Florida, the exterior areas, and the common exterior areas of the Commercial Property and

  businesses located within the Commercial Property, to make those facilities readily accessible and

  useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until such

  time as the Defendant cures the violations of the ADA.

             WHEREFORE, the Plaintiff, DOUG LONGHINI, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendant at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendant including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendant

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under


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   Title III of the Americans with Disabilities Act.

   Dated: May 12, 2023

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